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      In The United States Court of Federal Claims
                                        No. 11-711C

                                    (Filed: July 20, 2012)
                                         __________
 MODERN IMAGING SOLUTIONS,
 INC.,

                      Plaintiff,

        v.

 THE UNITED STATES,

                      Defendant.
                                         __________

                                          ORDER
                                         __________

       The telephonic oral argument on defendant’s motion to dismiss that was originally
scheduled for July 24, 2012, has been rescheduled for Wednesday, August 15, 2012, at 2:00 p.m.
(EDT). Chambers will contact the parties shortly before the scheduled argument time.

       IT IS SO ORDERED.



                                                  s/ Francis M. Allegra
                                                  Francis M. Allegra
                                                  Judge
